                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                              )
ALLISON DREITH                                )
                                              )
              Appellee/Plaintiff,             )    Appeal No. 21-3514
                                              )
v.                                            )
                                              )
GERALD LEYSHOCK, et al.,                      )
                                              )
              Appellants/Defendants.          )
                                              )

                    APPELLANTS’ FIRST MOTION FOR
             EXTENSION OF TIME TO FILE BRIEF AND APPENDIX

        Appellants-Defendants Scott Boyher and City of St. Louis, by and through their

undersigned counsel, hereby moves the Court for an extension of time, up to and

including January 28, 2022, to file their brief and appendix in this case. In support of

their motion, Appellants state as follows:

        1.    Appellants’ brief and appendix are currently due on January 10, 2021.

        2.    Due to the press of business and other intervening matters, undersigned

counsel requires additional time to prepare the brief and appendix in this case.

Accordingly, Appellants request an extension of time, up to and including January 28,

2022, to prepare Appellants’ brief and appendix.

        3.    Appellee-Plaintiff has consented to this request for extension of time.

        4.    This motion is not being brought to hinder or delay these proceedings or for

any other improper purpose.




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       WHEREFORE, Appellants-Defendants respectfully request an extension of time,

up to and including January 28, 2022, to file their brief and appendix in this case.



                                           Respectfully submitted,

                                           SHEENA HAMILTON,
                                           City Counselor

                                           /s/ Brandon Laird
                                           Brandon Laird, #65564 (MO)
                                           Associate City Counselor
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                                           Attorney for Appellants-Defendants


                          CERTIFICATE OF COMPLIANCE

       I hereby certify that this motion for extension of time complies with the

word count requirement in that the body of this motion consists of 170 words.



                                                                         /s/ Brandon Laird
                                                                             Brandon Laird
                                                                  Associate City Counselor




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                            CERTIFICATE OF SERVICE

    I hereby certify that on January 6, 2021, the foregoing Appellants’ Motion for

Extension to File Brief and Appendix was filed via the Court’s electronic filing system

and therefore was served on all attorneys of record.


                                                                      /s/ Brandon Laird
                                                                          Brandon Laird
                                                               Associate City Counselor




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